
The Supreme Court affirmed the decision of the Court below on October 8th, 1877, in the following opinion per
Gordon, J.:
This bill was brought to restrain execution on judgment, No. 62, Dec. Term, 1875, The People’s Fire Insurance Company of Pennsylvania vs. Philip Billmeyer, George P. Matlack, H. H. Wolf A. H. Dill, M. R. Dill and W. H. Himmelreich, trading as Billmeyer, Dill &amp; Co. This judgment is founded upon certain assessments upon premium notes, given by the plaintiffs to the defend, ants on certain contracts for the insurance of saw-mill properties in the borough of Lewisburg, and was entered by certificate under the provisions of the Act of April 13, 1838, P. L. 364. This judgment seems so far as we can ascertain, to be regular and binding upon the premises insured. Plaintiffs, however, complain that the assessment of May 13, 1872, was not made until after the expiration of one of the policies, and that of January 18th, 1873, not until after the expiration of both. This complaint avails nothing, as the Master finds the assessments were made to pay losses occurring during the life of the policies. These further allegations are made: that at the time of insurance, the agent of the company represented it to be solvent, whereas, in fact, it was insol*533vent; that all lossess occurring during the liability of the plaintiffs were adjusted and paid, and that the property insured was personal, not real, hence no lien could be created against it by the filing of the memorandum and certificate under the sixth section of the company’s charter. Had either of these allegations been made good the plaintiffs would have sustained their bill, but, failing in this, their bill was dismissed.
Decree affirmed.
